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NY) The Employment & Consumer Law Group

This Agreement is made by and between The Lampo Group, LLC, its affiliates, agents and
assigns (hereinafter “Employer”), and Brad Amos, (hereinafter “Employee”’).

The Employee has made allegations against the Employer and has expressed his intention
to file a lawsuit against the Employer. The Employer denies the allegations. In order to provide
the parties an opportunity to discuss possible resolution of their differences before any complaint
is filed, they have agreed to enter into this Agreement. For good and sufficient consideration,
the receipt of which is hereby acknowledged, Employer and Employee hereby agree as
follows:

i, Tolling Provision. No statute of limitations on any claim under the Tennessee
Human Rights Act or other state discrimination statutes, common law fraud, or common
law negligent misrepresentation which the Employee may have against the Employer shall
run against Employee and the same shall be tolled during the period of time while this
Agreement is in effect_(“Tolled Period”). Nothing contained in this Agreement shall be
deemed as an admission by any party with respect to any allegations or claims or that
jurisdiction for any claim exists.

2. Agreement Inadmissible. This Agreement and the fact that the parties executed this
Agreement are not admissible in evidence in any subsequent proceeding between the
parties, except for the limited purpose of offering it in evidence with respect to a
computation of time relevant to any defense raised regarding the statute of limitations,
laches, estoppel or waiver.

3. No Waiver. The parties agree that this Agreement shall not be construed as a waiver
and shall have no effect on any timing defenses, including by way of example and not by
limitation, the statute of limitations, laches or other defenses based upon the passage of
time, that may be available to Employer other than as excluded by the Tolled Period. All
time periods prior to and after the Tolled Period shall be included in the calculation of and
running of any applicable timing defenses.

4. Duration of the Tolling Period. The Tolled Period is effective as of April 8, 2021,
and shall terminate (a) on the same day as Employee files a complaint with any
administrative agency or a court or (b) on the 30" day after either party gives written notice
of cancellation to the other, whichever occurs first.

5. Modification. This Agreement can be modified only in a writing signed by the parties.
This Agreement shall constitute the entire understanding between the parties concerning
the subject matter of this Agreement and supersedes and replaces all prior negotiations,
proposed agreements, and agreements, written or oral, relating to this subject.

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respective successors and assigns.

7. Governing law. This Agreement shall be governed by and construed and enforced in
accordance with the laws of the State of Tennessee.

8. Authority to Bind. Each Counsel executing this Agreement represents and warrants that
he has been authorized to enter into this Agreement on behalf of the party on whose
behalf it is signed and that signatory has full and complete authority to do so.

9. Notices. Any notice, request, instructions or other document to be provided hereunder
by either party to the other shall be in writing and delivered personally or mailed by
certified mail, postage prepaid, return receipt requested (such personally delivered or
mailed notice to be effective on the date actually received) or by electronic means as
follows:

If to Employee, address to:

Jonathan Street

The Employment & Consumer Law Group
1720 West End Ave., Suite 402

Nashville, TN 37203

Email: street@eclaw.com

If to Employer, address to:

The Lampo Group, LLC
Daniel E. Cortez

1011 Reams Fleming Blvd.
Franklin, TN 37064

DATED: April 8, 2021

Employee

By:

Jonathan Street

Employer

LW EL E. Cortez

By: Daniel E. Cortez (Apr 8, 2021 10:29 CDT)

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Tolling Agreement with DEC Comments Jons
Edits

Final Audit Report 2021-04-08
Created: 2021-04-08
By: Lauren Piper (lauren.piper@daveramsey.com)
Status: Signed
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